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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  John P. Kerr aka John Kerr                                            CHAPTER 13
                                    Debtor(s)

  Deutsche Bank National Trust Company, as
  Indenture Trustee, for New Century Home
  Equity Loan Trust 2006-1                                           NO. 22-10166 ELF
                              Movant
                vs.

  John P. Kerr aka John Kerr
                                    Debtor(s)                      11 U.S.C. Section 362

  Kenneth E. West
                                    Trustee

                                         STIPULATION
            AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

            1.      The post-petition arrearage on the mortgage held by the Movant on the Debtor’s

  residence is $4,731.88 which breaks down as follows;

       Post-Petition Payments: February 2022 through May 2022 in the amount of $1,182.97/month
       Total Post-Petition Arrears    $4,731.88

  2.        The Debtor shall cure said arrearages in the following manner:

                    a). Within seven (7) days of the filing of this Stipulation, Debtor shall file an

  Amended Chapter 13 Plan to include the post-petition arrears of $4,731.88.

                    b). Movant shall file an Amended or Supplemental Proof of Claim to include

  the post-petition arrears of $4,731.88 along with the pre-petition arrears;

                    c). The new 410A form for a Proof of Claim shall not be required for this

  Amended or Supplemental Proof of Claim.

            3.      Beginning with the payment due June 1, 2022 and continuing thereafter,

  Debtor shall pay to Movant the present regular monthly mortgage payment of $1,182.97 (or

  as adjusted pursuant to the terms of the mortgage) on or before the first (1st) day of each

  month (with late charges being assessed after the 15th of the month).
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          4.        Should Debtor provide sufficient proof of payments made, but not credited

  (front & back copies of cancelled checks and/or money orders), Movant shall adjust the

  account accordingly.

          5.        In the event the payments under Section 3 above are not tendered pursuant to

  the terms of this stipulation, Movant shall notify Debtor and Debtor’s attorney of the default

  in writing and the Debtor may cure said default within FIFTEEN (15) days of the date of

  said notice. If Debtor should fail to cure the default within fifteen (15) days, Movant may

  file a Certification of Default with the Court and the Court shall enter an Order granting

  Movant immediate relief from the automatic stay and waiving the stay provided by

  Bankruptcy Rule 4001(a)(3).

          6.        If the case is converted to Chapter 7, Movant shall file a Certification of

  Default with the Court and the Court shall enter an order granting Movant relief from the

  automatic stay.

          7.        If the instant bankruptcy is terminated by either dismissal or discharge, this

  agreement shall be null and void, and is not binding upon the parties.

          8.        The provisions of this stipulation do not constitute a waiver by Movant of its

  right to seek reimbursement of any amounts not included in this stipulation, including fees

  and costs, due under the terms of the mortgage and applicable law.

         9.     The parties agree that a facsimile signature shall be considered
  an original signature

  Date:   May 6, 2022
                                                   /s/ Rebecca A. Solarz, Esquire________
                                                   Rebecca A. Solarz, Esquire
                                                   Attorney for Movant


  Date: May 24, 2022                                /s/ Anthony A. Frigo, Esquire
                                                   _____________________________
                                                   Anthony A. Frigo Esq.
                                                   Attorney for Debtor(s)
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  Date: May 25, 2022                              /s/ LeRoy W. Etheridge, Esquire for
                                                  _____________________________
                                                  Kenneth E. West, Esquire.           *no objection to its
                                                  Chapter 13 Trustee                  terms without prejudice
                                                                                      to any of our rights and
                                                                                      remedies
  Approved by the Court this       day of                        , 2022. However, the court
  retains discretion regarding entry of any further order.



                                                  Bankruptcy Judge
                                                  Eric L. Frank
